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            In the United States Court of Federal Claims
                                    No. 11-766 C
                             (Filed September 24, 2013)
 RUTH MILLER,                    )
                    Plaintiff,   )
          v.                     )
                                 )
 THE UNITED STATES,              )
                    Defendant. )
                                 )
                               ORDER

      On July 31, 2013, defendant filed a motion (Doc. No. 51), pursuant to 28
U.S.C. § 1631, to transfer count one of the plaintiff’s Second Amended Complaint to
the United States District Court of Maryland. Plaintiff opposes defendant’s motion.
Briefing on this transfer matter is complete and oral argument is considered to be
unnecessary.

       The facts underlying defendant’s transfer motion are the same as those
involved in King v. United States, ___ Fed. Cl. ___, 2013 WL 4734908 (Aug. 30,
2013). In King, Supervisory Border Patrol Agents of the United States Customs and
Border Protection seek overtime compensation alleged to be due to them under the
Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq. (2012). In the instant
case, plaintiff, a radiology technician at the Department of Veterans Affairs Baltimore
Medical Center, seeks compensation alleged to be due to her under the FLSA.

       In King, and in this case, defendant argues that the decision in United States
v. Bormes, 133 S. Ct. 12 (2012) erects a jurisdictional bar to the assertion of FLSA
claims in the Court of Federal Claims. If such a bar exists, a transfer to an a United
States District Court would be appropriate.

        The cited ruling in King denied defendant’s transfer motion, confirming that
Bormes does not impact the Federal Claims Court’s long-exercised jurisdiction over
FLSA compensation claims. This court agrees with the holding in King and adopts
it in this case.

      Accordingly, it is ORDERED:
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      (1) defendant’s motion (Doc. 51) to transfer is DENIED;

      (2) on or before October 23, 2013, the parties shall file a status report(s)
proposing further proceedings required in this matter (RCFC Appendix A, Section
VI) together with suggested schedule(s).




                                             s/ James F. Merow
                                             James F. Merow
                                             Senior Judge




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